     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 99-1667

                        UNITED STATES,

                          Appellee,

                              v.

                    FREDERICK ALAN PIERCE,

                    Defendant, Appellant.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MAINE

         [Hon. Morton A. Brody, U.S. District Judge]

                            Before

                  Selya, Boudin and Lynch,
                      Circuit Judges.

   Frederick Alan Pierce on brief pro se.
   Jay P. McCloskey, United States Attorney, and F. Mark Terison,
Senior Litigation Counsel, on Motion for Summary Affirmance for
appellee.

October 8, 1999

          Per Curiam. Petitioner, Frederick Alan Pierce,
appeals from the district court's denial of his petition for
"Emergency Writ of Release," pursuant to the All Writs Act, 28
U.S.C.  1651.  For the reasons stated by the district court in
its order dated March 19, 1999, we agree that petitioner's
claims that the district court and this court lacked
jurisdiction over his case are entirely without merit.      
          Petitioner's challenge to his indictment (on the
ground that it was obtained through fraud) is governed by 28
U.S.C.  2255.  Therefore, the All Writs Act does not provide
a source of relief. See Carlisle v. United States, 517 U.S.
416, 429 (1996); United States v. Barrett, 178 F.3d 34, 55 (1st
Cir. 1999).  That relief may not be available to petitioner
under  2255 (for inability to meet the requirements for filing
a successive petition under the statute), does not bring the
petition within the scope of the All Writs Act. See id.  "The
All Writs Act 'does not authorize [federal courts] to issue ad
hoc writs whenever compliance with statutory procedures appears
inconvenient or less appropriate.'" Aetna Cas. &amp;amp; Sur. Co. v.
Markarian, 114 F.3d 346, 350 (1st Cir. 1997)(citation omitted). 
          The district court's order denying the Petition for
Emergency Writ of Release and its order denying petitioner's
Motion for Reconsideration are summarily affirmed. See Loc. R.
27.1.
